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 6   Attorneys for Defendant
     KIEDOCK KIM
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      CASE NO: 2:10-CR-0255 GEB

12                      Plaintiff,
                                                    STIPULATION AND [PROPOSED]
13         v.                                       ORDER CONTINUING STATUS
                                                    CONFERENCE AND EXCLUDING
14   FRENCH GULCH NEVADA MINING                     TIME UNDER THE SPEEDY TRIAL
     CORPORATION, BULLION RIVER                     ACT
15   GOLD CORPORATION, PETER                        _______________________________
     MARTIN KUHN, and KIEDOCK KIM,
16
                        Defendants.
17
     _____________________________/
18

19         The defendant, KIEDOCK KIM, through his counsel of record, Segal & Kirby

20   LLP, and plaintiff United States of America, through its counsel, Assistant United

21   States Attorney Samuel W ong, agree and stipulate that the Status Conference

22   currently set for February 18, 2011, at 9:00 a.m. may be continued for an

23   approximate period of sixty days, or until April 22, 2011, at 9:00 a.m. in order to

24   permit the defendant the opportunity to provide reciprocal discovery to the

25   government, to meet with the government to discuss the discovery, and to prepare

26   the case for further proceedings.

27         The parties agree a continuance is necessary for these purposes, and

28   accordingly, both parties further agree and stipulate that time should be excluded
                                            1
         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
       Case 2:10-cr-00255-TLN Document 30 Filed 02/18/11 Page 2 of 3

 1   from February 18, 2011, through April 22, 2011 from computation under the Speedy

 2   Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4

 3   (ongoing preparation of defense counsel) due to the need to provide defense

 4   counsel with the reasonable time to prepare and to provide reciprocal discovery to

 5   the government taking into account the exercise of due diligence.

 6         IT IS SO STIPULATED.

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     Dated: February 16, 2011               Respectfully submitted,
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                                            SEGAL & KIRBY LLP
 9

10                                   By:    /s/ Malcolm Segal
                                            MALCOLM SEGAL
11                                          Attorneys for Defendant
                                            KIEDOCK KIM
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                                     By:    /s/ Samuel W ong
14   Dated: February 16, 2011               SAMUEL W ONG
                                            Assistant United States Attorney (per
15                                          authorization)

16

17                                          ORDER

18         UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is ordered

19   that the Status Conference currently set for February 18, 2011, at 9:00 a.m. be

20   continued to April 22, 2011, at 9:00 a.m.. Based upon the representation of the

21   parties, including defense counsel, and good cause appearing therefrom, the Court

22   hereby finds that it is unreasonable to expect adequate preparation for pretrial

23   proceedings and trial itself within the time limits established in 18 U.S.C. § 3161, and

24   the requested continuance is necessary to provide defense counsel reasonable time

25   necessary for effective preparation and to provide reciprocal discovery to the

26   government, taking into account the exercise of due diligence. The Court finds the

27   ends of justice to be served by granting a continuance outweigh the best interests of

28   the public and the defendant in a speedy trial.
                                           2
         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
       Case 2:10-cr-00255-TLN Document 30 Filed 02/18/11 Page 3 of 3

 1         It is therefore ordered that the time from February 18, 2011 up to and including

 2   the April 22, 2011 Status Conference shall be excluded from computation of time

 3   within which the trial of this matter must be commenced under the Speedy Trial Act

 4   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4 (ongoing

 5   preparation of defense counsel).

 6   Dated: February 18, 2011
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 8                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
